         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:94cr126


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
RONALD D. BROWN.          )
                          )

     THIS MATTER is before the Court on the Defendant’s Motion to Seal

Regarding Motion for Reduction of Sentence Pursuant to 18 United States

Code §3582(C)(2). [Doc. 388].

     For the reasons stated in the Motion, Defendant’s Motion will be

ALLOWED and the Motion for Reduction of Sentence shall be sealed.

     IT IS SO ORDERED.




                                        Signed: November 11, 2008




  Case 3:94-cr-00126-MOC-SCR    Document 389   Filed 11/12/08   Page 1 of 1
